    Case 2:21-cv-00032-AB-MAA Document 118 Filed 09/30/21 Page 1 of 4 Page ID #:1537

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          September 30, 2021


       No.:             21-56061
       D.C. No.:        2:21-cv-00032-AB-MAA
       Short Title:     EIPCa, et al v. Shirley Weber, et al


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Motions filed along with the notice of appeal in the district court are not
       automatically transferred to this court for filing. Any motions seeking relief from
       this court must be separately filed in this court's docket.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
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                   UNITED STATES COURT OF APPEALS
                                                               FILED
                           FOR THE NINTH CIRCUIT
                                                               SEP 30 2021
                                                              MOLLY C. DWYER, CLERK
                                                               U.S. COURT OF APPEALS




   ELECTION INTEGRITY PROJECT               No. 21-56061
   CALIFORNIA, INC.; JAMES P.
   BRADLEY; AJA SMITH; ERIC
                                            D.C. No. 2:21-cv-00032-AB-MAA
   EARLY; ALISON HAYDEN;
   JEFFREY GORMAN; MARK REED;               U.S. District Court for Central
   BUZZ PATTERSON; MIKE                     California, Los Angeles
   CARGILE; KEVIN COOKINGHAM;
   GREG RATHS; CHRIS BISH;                  TIME SCHEDULE ORDER
   RONDA KENNEDY; JOHNNY
   NALBANDIAN,

               Plaintiffs - Appellants,

     v.

   SHIRLEY WEBER, California
   Secretary of State; ROB BONTA,
   California Attorney General; GAVIN
   NEWSOM, Governor of the State of
   California; REBECCA SPENCER,
   Riverside County Registrar of Voters;
   DEAN LOGAN, Los Angeles County
   Registrar of Voters; MARK A. LUNN,
   Ventura County Registrar of Voters;
   BOB PAGE, San Bernardino County
   Registrar of Voters; CLAUDIO
   VALENZUELA, Monterey County
   Registrar of Voters; COURTNEY
   BAILEY-KANELO, Sacramento
   County Registrar of Voters; TIM
   DUPUIS, Alameda County Registrar of
   Voters; DEBORAH R. COOPER,
Case 2:21-cv-00032-AB-MAA Document 118 Filed 09/30/21 Page 3 of 4 Page ID #:1539


   Contra Costa County Registrar of
   Voters; SHANNON BUSHEY, Santa
   Clara County Registrar of Voters; JOE
   PAUL GONZALEZ, San Benito
   County Registrar of Voters; GAIL L.
   PELLERIN, Santa Cruz County
   Registrar of Voters; NEAL KELLEY,
   Orange County Registrar of Voters;
   JAMES A. KUS, Fresno County
   Registrar of Voters,

                Defendants - Appellees.



  The parties shall meet the following time schedule.

  Thu., October 7, 2021        Appellants' Mediation Questionnaire due. If your
                               registration for Appellate CM/ECF is confirmed after
                               this date, the Mediation Questionnaire is due within
                               one day of receiving the email from PACER
                               confirming your registration.
  Fri., November 26, 2021      Appellants' opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.
  Mon., December 27, 2021 Appellees' answering brief and excerpts of record
                          shall be served and filed pursuant to FRAP 31 and
                          9th Cir. R. 31-2.1.

  The optional appellants' reply brief shall be filed and served within 21 days of
  service of the appellees' brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

  Failure of the appellants to comply with the Time Schedule Order will result
  in automatic dismissal of the appeal. See 9th Cir. R. 42-1.
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                                           FOR THE COURT:

                                           MOLLY C. DWYER
                                           CLERK OF COURT

                                           By: John Brendan Sigel
                                           Deputy Clerk
                                           Ninth Circuit Rule 27-7
